Case 2:13-cv-02578-STA-cgc Document 32 Filed 11/25/14 Page 1 of 3                     PageID 482




                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TENNESSEE
______________________________________________________________________________

MARY PHILLIPA SLEDGE, MARY JANE
PIDGEON SLEDGE TRUST, and PIDGEON SLEDGE FAMILY
LIMITED PARTNERSHIP

Plaintiffs,

v.
                                                                    Civ. 2:13-cv-2578
INDICO SYSTEM RESOURCES, INC. and
CLEAL WATTS, III

Defendants.
______________________________________________________________________________

   PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION FOR
                 CONTINUANCE OF EVIDENTIARY HEARING
______________________________________________________________________________

       Plaintiffs Mary Phillipa Sledge, Mary Jane Pidgeon Sledge Trust, and Pidgeon Sledge

Family Limited Partnership (“Plaintiffs”) respectfully request this Court deny the untimely

Motion for Continuance of Evidentiary Hearing filed by Indico System Resources, Inc. and Cleal

Watts, III (collectively, the “Defendants”).

       The initial Complaint was served on Defendants in October 2013. On December 13,

2013, Defendants Indico Systems Resources, Inc. and Cleal Watts, III (“Defendants”) filed their

Motion to Dismiss for Lack of Jurisdiction. (dkt. no. 11). This threshold issue has been pending

for nearly a full year and, as argued in Plaintiffs’ Motion to set Scheduling Conference, filed in

August 2014 (dkt. no. 28), Plaintiffs are eager to begin discovery but cannot until a determination

as to jurisdiction is made.

       On November 14, 2014, this Court notified the parties that it intended to conduct an

evidentiary hearing on December 3, 2014 to determine the jurisdictional issue. In response,
Case 2:13-cv-02578-STA-cgc Document 32 Filed 11/25/14 Page 2 of 3                        PageID 483




Plaintiffs immediately began in earnest to aggressively prepare their proof. On Wednesday,

November 19, 2014, Plaintiffs, upon realizing that they may need to introduce several dozen

exhibits, contacted Defendants’ counsel to discuss the possibility of stipulations. Defendants’

counsel indicated, for the first time during that call, that he would be seeking a continuance and

asked whether Plaintiffs would agree to a joint motion.           Plaintiffs’ counsel indicated that

Plaintiffs would not likely support any further delays. Defendants’ counsel then stated he would

be filing the motion anyway.

       On Tuesday, November 25, 2014 (six days later), Defendants filed their Motion to

Continue Evidentiary Hearing. (“Motion”, dkt no. 31). They filed this Motion on the eve of the

Thanksgiving holiday, merely two business days before the hearing was scheduled to occur and,

importantly, after Plaintiffs have invested substantial time and efforts in preparing for it.

       Plaintiffs respectfully ask that Defendants Motion be denied because:

   •   this matter has been pending for more than a year;

   •   Defendants have had notice of the hearing for two weeks;

   •   Defendants waited until two days before the hearing to file their Motion;

   •   Defendants have offered no good explanation for their request for a continuance other

       than “various scheduling conflicts on the part of Defendants and their counsel”; and

   •   most importantly, because the effect of any further continuance would be to cause further

       prejudice to Plaintiffs, who have been severely injured by the fraudulent conduct of

       Defendants and who continue to suffer damages as a result of the passage of time.




                                                  2
Case 2:13-cv-02578-STA-cgc Document 32 Filed 11/25/14 Page 3 of 3                  PageID 484




                                                   Respectfully Submitted,



                                                   /s/ Darrell N. Phillips
                                                   PIETRANGELO COOK PLC
                                                   Anthony C. Pietrangelo BPR # 15596
                                                   John J. Cook BPR # 17725
                                                   Darrell N. Phillips BPR #30299
                                                   6410 Poplar Avenue, Suite 190
                                                   Memphis, TN 38119
                                                   901.685.2662
                                                   901.685.6122 (fax)
                                                   jcook@pcplc.com
                                                   Attorneys for Plaintiffs




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 25th day of November 2014, a copy of the
foregoing electronically filed document was served on the parties listed below via first class
mail, postage prepaid, unless said party is a registered CM/ECF participant who has consented to
electronic notice, and the Notice of Electronic Filing indicates that Notice was electronically
mailed to said party.

                      Bruce A. McMullen
                      165 Madison Ave., Suite 2000
                      Memphis, Tennessee 38103

                                                   /s/ Darrell N. Phillips




                                               3
